     Case 1-25-41368-jmm          Doc 70     Filed 06/08/25     Entered 06/09/25 10:34:40




To Whom It May Concern,

I, Dinesh Kumar, was a tenant at Avon Place Apartments under two lease agreements. My initial
lease commenced on June 1, 2023, for Unit 214 at 44 Avonwood Rd, Avon, CT, with a monthly
rent of $1,850 and a security deposit of $1,850. Due to issues with the apartment, Avon
Management relocated me to Unit 204 at 48 Avonwood Rd, Avon, CT, on November 1, 2023.
The new lease, valid until October 31, 2024, had a monthly rent of $1,600, with my previously
paid security deposit retained.

I vacated the apartment on October 30, 2024, and duly submitted the required move-out form.
Despite multiple follow-ups via phone and email, Avon Management has not refunded my
security deposit. Under Connecticut General Statutes § 47a-21, a landlord is required to return
the security deposit within thirty days of lease termination or provide a written explanation for
any deductions.

Since no refund has been issued and no response has been received to my inquiries, I formally
demand the full return of my security deposit amounting to $1,850. I have attached email
correspondence for reference. If this matter is not resolved promptly, I may pursue further legal
action.

I request an immediate response and resolution.

Sincerely,

Dinesh Kumar

dineshtech@hotmail.com
Case 1-25-41368-jmm   Doc 70   Filed 06/08/25   Entered 06/09/25 10:34:40




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From: Dinesh Kumar <dineshtech@hotmail.com>
Sent: Saturday, February 15, 2025 12:12 AM
To: Avon Place <empireavonplace@gmail.com>
Subject: Re: Avon Place _Refund Security Deposit


Hi Nazwa/Victoria

I am following with you for last couple of months for my security refund but
no response from you
Could you please arrange the refund of security deposit as soon as possible.
I tried to call both of you but no one is picking up call and no call back

Please take necessary action.

Regards
Dinesh

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From: Dinesh Kumar <dineshtech@hotmail.com>
Sent: Monday, December 9, 2024 1:47:20 AM
To: Avon Place <empireavonplace@gmail.com>
Subject: Re: Avon Place _Refund Security Deposit


Hi Nazwa

As discussed over phone call , please share my security deposit refund status
for APT 104 ,48 Avonwood Road ,Avon Place. I have Submitted move out form
to Victoria on 30th Oct 2024.

Place do the needful on priority.

Regards
Dinesh Kumar
     Case 1-25-41368-jmm       Doc 70    Filed 06/08/25   Entered 06/09/25 10:34:40




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From: Avon Place <empireavonplace@gmail.com>
Sent: Tuesday, October 29, 2024 10:59 AM
To: Dinesh Kumar <dineshtech@hotmail.com>
Subject: Re: Avon Place

Hi Dinesh,

All of the information is at the top of the move out sheet. Let me know if you
have any more questions. Have a great day!

Regards,
Victoria Fuentes
Avon Place
46 Avonwood Rd
(860) 677-1196


On Mon, Oct 28, 2024 at 1:53 PM Dinesh Kumar <dineshtech@hotmail.com>
wrote:
Hi Victoria

Could you please share the contact person and email id , contact number who
deals from your corporate office . I know only Avon management office.
Thank you
Regards
Dinesh Kumar
+1(646)204-6586

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From: Avon Place <empireavonplace@gmail.com>
Sent: Monday, October 28, 2024 12:19:39 PM
To: Dinesh Kumar <dineshtech@hotmail.com>
Subject: Re: Avon Place
     Case 1-25-41368-jmm        Doc 70    Filed 06/08/25    Entered 06/09/25 10:34:40




Received, thank you. Our corporate office handles all security deposit returns.
Please let me know if you have any questions.

Regards,
Victoria Fuentes
Avon Place
46 Avonwood Rd
(860) 677-1196


On Mon, Oct 28, 2024 at 10:05 AM Dinesh Kumar <dineshtech@hotmail.com>
wrote:
Hi Victoria

Here is the Avon move out form for 48 Avonwood Rd APT 204 , Avon CT -
06001
Please initiate my security deposit refund .

Let me know if any further query.

Thank you and appreciate your support.

Regards
Dinesh Kumar


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From: Dinesh Kumar <dineshtech@hotmail.com>
Sent: Thursday, September 5, 2024 2:04:11 PM
To: Avon Place <empireavonplace@gmail.com>
Subject: Re: Avon Place

HI Victoria

If Avon Place management is ok to create new lease then Rohith is ok to continue same unit
after my lease which is expiring on 10/31/2024 but I am not going to continue lease on my
name .
     Case 1-25-41368-jmm        Doc 70     Filed 06/08/25     Entered 06/09/25 10:34:40




Let me know if you have any question.

Regards
Dinesh Kumar
+1-(646)204-6586

From: Avon Place <empireavonplace@gmail.com>
Sent: Thursday, September 5, 2024 9:18 PM
To: Dinesh Kumar <dineshtech@hotmail.com>
Subject: Re: Avon Place


Hello,

Will they be moving into your unit?

Regards,
Victoria Fuentes
Avon Place
46 Avonwood Rd
(860) 677-1196


On Fri, Aug 30, 2024 at 11:27 AM Dinesh Kumar <dineshtech@hotmail.com>
wrote:
Hi

This is to inform you that I am not going to extend current lease after 10/31/2024.

If you want to create new lease then you can create new lease to Rohith who is copied in this
email.

Let me know if you have any question.

Regards
Dinesh Kumar
+1-6462046586
      Case 1-25-41368-jmm            Doc 70      Filed 06/08/25      Entered 06/09/25 10:34:40




From: Avon Place <mail@managebuilding.com>
Sent: Wednesday, August 21, 2024 12:01 AM
To: dineshtech@hotmail.com <dineshtech@hotmail.com>
Subject: Avon Place



Good Afternoon,




This email is in regards to your upcoming lease that is expiring on 10/31 of this year. Please contact this
office for your lease renewal options. Thank you.




-Avon Place
Case 1-25-41368-jmm   Doc 70   Filed 06/08/25   Entered 06/09/25 10:34:40
Case 1-25-41368-jmm   Doc 70   Filed 06/08/25   Entered 06/09/25 10:34:40
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